




NO. 07-04-0411-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



DECEMBER 10, 2004



______________________________





MANUEL RUELAS-SIGALA, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE

_________________________________



FROM THE 84TH DISTRICT COURT OF OCHILTREE COUNTY;



NO. 3802; HONORABLE WILLIAM D. SMITH, JUDGE



_______________________________



Before JOHNSON, C.J., and REAVIS and CAMPBELL, JJ.

MEMORANDUM OPINION

Appellant, Manuel Ruelas-Sigala, appeals a conviction for Indecency with a Child. &nbsp;We dismiss for want of jurisdiction.

Appellant was tried before a jury on the charge of Indecency with a Child. &nbsp;He was found guilty. &nbsp;Sentence was imposed and judgment was signed on April 5, 2004. &nbsp;Appellant filed a Motion for New Trial and Notice of Appeal. &nbsp;Notice of Appeal was filed on July 29, 2004. &nbsp;No motion for extension of time to file notice of appeal was filed. &nbsp;Subsequently, appellant filed a Motion for Out of Time Appeal. &nbsp;

In a criminal case, appeal is perfected by timely filing a notice of appeal. &nbsp;
Tex. R. App. P.
 25.2(b).
(footnote: 1) &nbsp;If a motion for new trial is timely filed, then the notice of appeal must be filed within 90 days after the day sentence is imposed or after the day the trial court enters an appealable order
. &nbsp;
TRAP
 &nbsp;26.2(a).
 

An untimely-filed notice of appeal will not invoke the jurisdiction of the court of appeals. &nbsp;
See
 
State v. Riewe
, 13 S.W.2d 408, 411 (Tex.Crim.App. 2000). &nbsp;If an appeal is not timely perfected, a court of appeals does not have jurisdiction and can take no action other than to dismiss the appeal. &nbsp;
Slaton v. State
, 981 S.W.2d 208, 210 (Tex.Crim.App. 1998)
.

Appellant’s Notice of Appeal was not timely filed and does not invoke our jurisdiction. &nbsp;We have no jurisdiction to consider or act on appellant’s Motion for Out of Time Appeal. &nbsp;&nbsp;

The appeal is dismissed for want of jurisdiction. &nbsp;
TRAP
 39.8, 40.2, 43.2. 
					

Per Curiam

Do not publish.

FOOTNOTES
1:1
Further references to the Texas Rules of Appellate Procedure will be by reference to “TRAP __”.




